                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                   GREENEVILLE DIVISION

  UNITED STATES OF AMERICA,                      )
                                                 )
                                                 )                   2:20-CR-65
                Plaintiff,                       )
                                                 )
         vs.                                     )
                                                 )
  EMORY Q. JACKSON,                              )
                Defendants.                      )
                                                 )

                                           ORDER

        A Superseding Indictment was returned in this matter on March 9, 2021. Defendant may

 waive initial appearance on this indictment by filing a Rule 10(b) waiver by Monday, March 29,

 2021. If Defendant does not file a waiver by this date he will be scheduled to appear for an

 arraignment before the Court on the Superseding Indictment.

 SO ORDERED:




                                            /s Cynthia Richardson Wyrick
                                            United States Magistrate Judge




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